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                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

CASSANDRA SOCHA,                                 )
                                                 ) Case No. 18 CV 05681
                        Plaintiff,               )
                                                 ) Honorable Judge Jorge L. Alonso
        v.                                       )
                                                 ) Honorable Magistrate M. David Weisman
City of Joliet, a municipal corporation,         )
Edward Grizzle, John Does 1 – 20,                )
                                                 )
                        Defendants.              )

                                         NOTICE OF FILING

To:     State of Illinois Appellate Prosecutor’s Office
        725 South 2nd St.
        Springfield, IL 62704

         PLEASE TAKE NOTICE that on 31st day December 2020, we e-filed, pursuant to Electronic Court
filing procedures, Notice of Filing and Certificate of Service of 30 December 2020 Order, and is
attached hereto and served upon you.

                                                                /s/ Hall Adams
                                                         One of Plaintiff’s Attorneys

                                       CERTIFICATE OF SERVICE
        The undersigned attorney certifies that service of the foregoing, Notice of Filing and Certificate of
Service of 30 December 2020 Order, shall be accomplished pursuant to Electronic Court Filing
procedures to counsel who are Filing Users on this 31st day of December 2020.

                                                                /s/ Hall Adams
                                                         One of Plaintiff’s Attorneys




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